Exhibit A
Baker, Douglas D.

From:                              Joseph Rodkey <jrodkey@fowkesrodkey.com>
Sent:                              Tuesday, August 25, 2020 3:30 PM
To:                                Baker, Douglas D.; Jayson Macyda
Cc:                                Goetz, John D.; Ginsberg, Michael H.; Jeffrey Morris
Subject:                           RE: Initial Disclosures/Protective Order



** External mail **

Doug,

The Court order is clear that if the parties cannot agree each party is to submit their own redline.

We intend to do that forthwith.

‐Joe



Joseph F. Rodkey, Jr., Esq.

FOWKES RODKEY
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732 Allegheny River Boulevard
Oakmont, PA 15139

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ey.com>
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From: Baker, Douglas D. [mailto:ddbaker@jonesday.com]
Sent: Tuesday, August 25, 2020 3:19 PM
To: Joseph Rodkey; Jayson Macyda
Cc: Goetz, John D.; Ginsberg, Michael H.; Jeffrey Morris
Subject: RE: Initial Disclosures/Protective Order
                                                             1
Hi Joe,

I believe the Court’s order requires it to be a joint motion. We would like to identify why we disagree with Plaintiffs’
proposed revisions to the standard order. We will send you something shortly.

Thanks,


Douglas Baker
Associate
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Office +1.412.394.9546 (ext. 4.9546)
ddbaker@jonesday.com

From: Joseph Rodkey <jrodkey@fowkesrodkey.com>
Sent: Tuesday, August 25, 2020 3:16 PM
To: Baker, Douglas D. <ddbaker@jonesday.com>; Jayson Macyda <GeneralCounsel@kykoglobal.com>
Cc: Goetz, John D. <jdgoetz@JonesDay.com>; Ginsberg, Michael H. <mhginsberg@JonesDay.com>; Jeffrey Morris
<morris@elliott‐davis.com>
Subject: RE: Initial Disclosures/Protective Order

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Doug,

We understand that the SSG Defendants have no changes to the form protective order taken from the local
patent rules that you circulated. While some of the terms are unnecessary given that it is for patent cases,
Plaintiffs do have relevant and important proposed revisions to certain provisions which have been proposed
and which you confirm the SSG Defendants have rejected.

Accordingly, pursuant to the Court’s directive (ECF No. 174), Plaintiffs will submit their redline to the Court
for consideration.

-Joe


Joseph F. Rodkey, Jr., Esq.

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applicable state and local provisions or (2) promoting, marketing or recommending to another
party any tax‐related matters addressed herein.



From: Baker, Douglas D. [mailto:ddbaker@jonesday.com]
Sent: Monday, August 24, 2020 4:22 PM
To: Jayson Macyda
Cc: Goetz, John D.; Ginsberg, Michael H.; Jeffrey Morris; Joseph Rodkey
Subject: RE: Initial Disclosures/Protective Order

Jayson,

We do not agree with your proposed revisions to the standard protective order. We propose simply entering the
standard protective order. During the case management conference, the Court explained that any disagreement
regarding the content of the protective order should be set forth in redline. Please let us know if you would like us to
file the protective order with your disagreements so identified. Thanks.

Regards,

Douglas Baker
Associate
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Office +1.412.394.9546 (ext. 4.9546)
ddbaker@jonesday.com

From: Jayson Macyda <GeneralCounsel@kykoglobal.com>
Sent: Saturday, August 22, 2020 11:44 AM
To: Baker, Douglas D. <ddbaker@jonesday.com>
Cc: Goetz, John D. <jdgoetz@JonesDay.com>; Ginsberg, Michael H. <mhginsberg@JonesDay.com>; Jeffrey Morris
<morris@elliott‐davis.com>; Joseph Rodkey <jrodkey@fowkesrodkey.com>
Subject: Re: Initial Disclosures/Protective Order

** External mail **

Doug:

Please see the attached redline and advise.

Thanks.


                                                             3
Sincerely,

Jayson M. Macyda
General Counsel - Kyko Global Inc. and Affiliates
248-243-6685
P.O. Box 87491
Canton, MI 48187 USA


On Thu, Aug 20, 2020 at 11:15 AM Baker, Douglas D. <ddbaker@jonesday.com> wrote:

Jayson:



We agree to a mutual 10‐day extension on Initial Disclosures, meaning they will now be due September 4, 2020.



On the protective order, we propose simply following the Court’s standard protective order (see attached).



Thanks,



Douglas Baker
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ddbaker@jonesday.com




From: Jayson Macyda <GeneralCounsel@kykoglobal.com>
Sent: Tuesday, August 18, 2020 1:42 PM
To: Goetz, John D. <jdgoetz@JonesDay.com>; Ginsberg, Michael H. <mhginsberg@JonesDay.com>; Baker, Douglas D.
<ddbaker@jonesday.com>; Jeffrey Morris <morris@elliott‐davis.com>
Cc: Joseph Rodkey <jrodkey@fowkesrodkey.com>
Subject: Initial Disclosures/Protective Order




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 Counsel:



 As discussed in the Rule 26(f) Report, Plaintiffs hereby request a 10 extension of the time to file its Initial
 Disclosures. To the extent your clients want the same, Plaintiffs hereby give consent. Let me know.



 Also, the SSG Defendants indicated that they want a protective order entered in this case. To date, Plaintiffs
 have not received the SSG Defendants' proposed order. Please provide this as Plaintiffs need sufficient time
 to review (it's due one week from today as you know).



 Thanks.




 Sincerely,



 Jayson M. Macyda

 General Counsel - Kyko Global Inc. and Affiliates

 248-243-6685

 P.O. Box 87491

 Canton, MI 48187 USA

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